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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF OKLAHOMA

JIMMY D. PINGLETON, an        )
individual,                   )
                              )
       Plaintiff,             )
                              )             Case No. 6:15-cv-00349-KEW
v.                            )
                              )
                              )
ROLLING HILLS HOSPITAL, LLC, )
an Oklahoma Limited Liability )
Company,                      )
                              )
                              )
       Defendant.             )


                           NOTICE OF REMOVAL


      PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1332 and 1441, et

seq., Defendant Rolling Hills Hospital, LLC (“Defendant”), by and through its

undersigned counsel, hereby provides a written Notice of Removal of this action

from the District Court of Pontotoc County, Oklahoma, Case No. CJ-2015-143. In

support of removal, Defendant states the following:

      1.    On August 19, 2015, an action was commenced in the District Court

of Oklahoma County, Oklahoma, styled Jimmy D. Pingleton, an individual, v.

Rolling Hills Hospital, LLC, an Oklahoma Limited Liability Company, Case No. CJ-

2015-143.



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      2.     Defendant received notice of the action via service of the Complaint

through its registered agent for service of process on August 21, 2015. A copy of

the Summons and Complaint, which constitutes all process, pleadings, and

orders served upon Defendant, is attached hereto as Exhibit A, pursuant to 28

U.S.C. § 1446(a).

      3.     Defendant is filing this Notice of Removal within twenty (20) days

of receipt of the Summons and Complaint. This Notice of Removal is timely filed

under 28 U.S.C. § 1446(b).

      4.     Plaintiff is a citizen of Oklahoma. (See Com., ¶ 1).

      5.     Defendant is a limited liability company, and its sole member,

Acadia Healthcare Company, is a Delaware corporation.

      6.     Based on the respective states of citizenship of the parties, there is

complete diversity. See 28 U.S.C. § 1332(a)(1); see also Allen v. IM Solutions, LLC,

No. CIV-14-213-JHP, 2015 WL 71468, at *5 (E.D. Okla. Jan. 6, 2015) (for diversity

jurisdiction purposes, limited liability company considered a citizen of states in

which its members are incorporated).

      7.     Plaintiff pleads that he “demands judgment against Defendant in an

amount in excess of Seventy-Five Thousand Dollars ($75,000.00), the amount

required for diversity jurisdiction pursuant to Section 1332 of Title 28 of the

United States Code, and for punitive damages in excess of Seventy-Five



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Thousand Dollars ($75,000.00), the amount required for diversity jurisdiction

pursuant to Section 1332 of Title 28 of the United States Code[.]” (See Com., p. 3).

      8.     Based on the Complaint, the amount in controversy exceeds the sum

or value of $75,000, exclusive of interests and costs. See 28 U.S.C. § 1332(a).

      9.     Because there is complete diversity and the amount in controversy

exceeds $75,000, removal to this Court is appropriate. See 28 U.S.C. § 1332(a).

      10.    Venue is proper pursuant to 28 U.S.C. § 1441(a) in the United States

District Court for the Eastern District of Oklahoma, which embraces the same

county where the state court action was pending.

      11.    In accordance with 28 U.S.C. § 1446(d), copies of this Notice of

Removal are being served upon Plaintiff’s counsel and the District Court Clerk

for Pontotoc County, Oklahoma.

      Respectfully submitted this 10th day of September, 2015.

                                       Respectfully submitted,

                                       HOLDEN & CARR


                                       /s/ Michael L. Carr
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                                       Jessica L. Craft, OBA #31126
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                                       Attorneys for Defendant


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                           CERTIFICATE OF SERVICE

I hereby certify that on the 10th day of September, 2015, I electronically
transmitted the attached document to the Clerk of Court using the ECF System
for filing. Based on the records currently on file, the Clerk of Court will transmit
a Notice of Electronic Filing to the following ECF registrants:

          Kevin R. Donelson, OBA #12647
          kdonelson@fellerssnider.com

          Derek H. Ross, OBA #31699
          dross@fellerssnider@.com


                                      /s/ Michael L. Carr
                                      Michael L. Carr
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